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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
      MARC WIENER,                                   Case No. 8:20-cv-02406-JLS-JDE
 11
                   Plaintiff,
 12
            vs.
 13
      PRIMERICA LIFE INSURANCE
 14   COMPANY,
                                                     ORDER DISMISSING ENTIRE
 15                Defendant.                        ACTION WITH PREJUDICE

 16
      PRIMERICA LIFE INSURANCE
 17   COMPANY, a corporation,
 18                Counter-Claimant,
 19         vs.
 20   MARC WIENER, an individual; DONALD
      JOHN SMOLKA, an individual; JULIANA
 21   R. WIENER-NEFF, an individual; and
      DOES 1 through 5, inclusive,
 22
                   Counter-Defendants.
 23
 24
 25         Pursuant to the stipulation of the parties (Doc. 46), the above-entitled action,
 26   including the complaint and counterclaim, is hereby dismissed in its entirety, with
 27   prejudice. Each party shall bear her or its own attorneys’ fees and costs.
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Case 8:20-cv-02406-JLS-JDE Document 47 Filed 11/22/21 Page 2 of 2 Page ID #:186
